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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
Agustina Bueno
                                                                     Case No.: _______________
                                    Plaintiff,
                  -against-

MEL S. HARRIS AND ASSOCIATES, LLC
LR CREDIT 18, LLC
MEL S. HARRIS
TODD FABACHER
MICHAEL YOUNG
DAVID WALDMAN
SAMSERV, INC
HUSAM AL-ATRASH
WILLIAM MLOTOK

                                    Defendants.
-------------------------------------------------------------------X

                         ORIGINAL COMPLAINT AND JURY DEMAND

        Plaintiff brings this action for Defendants’ violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq., New York General Business Law § 349 et seq., New

York Judiciary Law § 487 et seq. and/or for conversion, and in support alleges as follows.

                                         SUMMARY OF CLAIMS

        Defendants are a debt collection law firm, the principals and an employee of the firm

(collectively MSH), a putative assignee creditor LR Credit 18, LLC (“LRC”), and a process

serving company and an individual process server (collectively SAMSERV).

        MSH, LRC, and SAMSERV engaged in a joint venture to obtain default judgments

against over 100,000 consumers by, inter alia, systematically using false affidavits of service and

false affidavit of merit. An application for final approval of a class action against these and

related defendants for this systematic conduct. Sykes v. Mel S. Harris, LLC, et al, 1:09-cv-

08486-DC (SDNY), see www.SykesClassAction.com.


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       Plaintiff Agustina Bueno is a Sykes class member who has opted-out of the class

settlement. Ms. Bueno brings this individual action against MSH, LRC, and SAMSERV for

procuring a default judgment against her in state court using a false affidavit of service and an

affidavit of merit that falsely claimed personal knowledge of Ms. Bueno owing the putative debt.

Furthermore, despite knowing that the default judgment against Ms. Bueno was obtained via

“sewer service”, and with a false affidavit of merit, MSH and LRC attempted to garnish Ms.

Bueno’s wages; and stated that they would voluntarily agree to vacate the judgment and

discontinue the collections lawsuit unless Ms. Bueno released MSH and LRC from liability for

their abusive debt collection practices.

                            A. JURISDICTION AND VENUE

1.     The Court has federal question jurisdiction over the lawsuit because the action arises

under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”). Jurisdiction

of the Court arises under 28 U.S.C. § 1331 because this dispute involves predominant issues of

federal law, the FDCPA . Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

The Court has supplemental jurisdiction under 28 U.S.C. §1367 over Plaintiff’s state law claims

because said claims are so related to the claims within the Court’s original jurisdiction that they

form part of the same case or controversy under Article 3 of the United States Constitution.

2.     Venue in this District is proper because all or a substantial part of the events or omissions

giving rise to their claims occurred in Queens County, New York.

                           B.    PARTIES

3.     Plaintiff Agustina Bueno is an individual currently residing in Queens County, New York.

4.     Defendant MEL S. HARRIS AND ASSOCIATES, LLC (“MSH”) is a limited liability




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corporation organized under the laws of the State of New York, with its principal place of business

at 5 Hanover Square, 8th Floor, New York, NY 10004. MSH is a debt collection law firm.

5.      Defendant LR Credit 18, LLC (“LRC”) is a limited liability corporation organized under

the laws of the State of New York. LRC purchases putative consumer debts after they are in

default from the putative original creditor and files lawsuits to collect on those debts. LRC is

therefore a debt collector.

6.      Defendant TODD FABACHER is an individual who robosigned thousands of affidavits

of merit falsely claiming personal knowledge to key elements that allowed the entry of default

judgments. Therefore Fabacher is a debt collector.

7.      Defendant DAVID WALDMAN is an attorney, and was a member and partner at MSH.

He regularly attempts to collect debts by signing thousands of debt collection complaints, and

post-judgment executions. Waldman is a debt collector.

8.      Defendant MEL S. HARRIS is an attorney who was the primary member and lead partner

at MSH ever since the inception of the firm. He regularly attempts to collect debts by signing

thousands of debt collection complaints and thousands of collection letters. Harris is a debt

collector.

9.      Defendant MICHAEL YOUNG has been the Executive Director at MSH since its

inception in 2002. He regularly attempts to collect debts by managing the non-attorney collection

operation at MSH. He makes the financial decisions at MSH, including bringing in, managing,

and playing an integral role in decision making with debt buyer clients, including the LRC

Entities. Mr. Young is therefore a debt collector.

10.     Defendant SAMSERV, INC, a process serving agency, is a domestic business



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corporation organized under the laws of the State of New York. SAMSERV regularly fails to

serve summons and complaints and regularly executes false affidavits of service allowing the

entry of default judgments. SAMSERV is therefore a debt collector.

11.     Defendant HUSAMN AL-ATRASH (“Al-Atrash”) is a process server, and worked for

the process serving agency SAMSERV, during the period of putative service in the collection

lawsuit against Ms. Bueno. On information and belief, Al-Atrash resides in the State of New

York. Al-Atrash regularly fails to serve summons and complaints and regularly executes false

affidavits of service allowing the entry of default judgments. Al-Atrash is therefore a debt

collector.

12.     Defendant William Mlotok is the owner of SAMSERV, INC. and is the chief executive

officer, manager, and decision maker at SAMSERV, INC., and as such was central to the policy

of having its process servers file false affidavits of service which allowed the entry of default

judgments. Mlotok is therefore a debt collector.




                           C. STATEMENT OF FACTS

13.     Defendant LR Credit 18, LLC (hereinafter “LRC”) is a debt collector that purchases

charge off consumer debts for pennies on the dollar and files lawsuits to collect those alleged

debts. LRC has filed thousands of collection lawsuits in New York.

14.     There are currently twenty four LRC entities, numbered LR Credit #1-23 operating in

New York State (plus an unnumbered LR Credit), according to the New York Secretary of State

(the “LRC Entities”).

15.     The LRC Entities are wholly-owned subsidiaries of the same publically traded

corporation, Leucadia National Corporation.


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16.     Each of the LRC Entities purchases putative consumer debts for pennies on the dollar,

after they are charged off with the alleged original creditor.

17.     On information and belief, the reason the LRC Entities create separate corporate debt

collection vehicles is to create thinly capitalized corporations to protect their assets when they

are sued for violating the FDCPA, and to minimize their exposure for the same. 1

18.     The LRC Entities exclusively used Mel S. Harris and Associates, LLC (“MSH”) to

collect the putative debts.

19.     MSH is a debt collection law firm that files tens of thousands of collection suits in the

names of debt buyers (such as the LRC Entities) or other putative creditors, in addition to

sending out hundreds of thousands of collection letters and making hundreds of thousands of

collection phone calls.

20.     A large number of MSH collection lawsuits go out under the (putative) personal signature

of attorney Mel S. Harris (“Harris”).

21.     On or about February 23, 2009, LR Credit 13, LLC (“LRC”), filed a collections lawsuit

by and through MSH, against Ms. Bueno, titled LR CREDIT 18, LLC v. Agustina Bueno, Index

No. 30133 QCV09 (Civil Court of the City of New York, County of Queens) (the “collections

lawsuit”). See Exhibit A.

22.     The collections lawsuit complaint was (allegedly) signed by Harris. See Exhibit A.

23.     The collections lawsuit sought to collect a putative debt (the “debt” or “account”)

originally owed to “SEARS, allegedly flowing from a defaulted “Retail Charge Account

Agreement”, Num #5049941014828815. See Exhibit A.

24.     Ms. Bueno has never had an account with “SEARS”.


1 For example, statutory damages for FDCPA class actions are limited to the lesser of $500,000 or one percent of
the debt collector’s net worth. 15 U.S.C. § 1692k(a)(2)(B).


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25.    On or about April 16, 2009, LRC through MSH filed an affidavit of service in the

collections lawsuit, alleging service on Ms. Bueno at the address 11630 Guy Brewer Blvd Apt

7F, Jamaica, NY, 11434 (“11630 Guy Brewer Blvd”). See Exhibit B.

26.    Contrary to the affidavit of service, Ms. Bueno was never served with the lawsuit.

27.    The process server was Husman Al-Atrash (“Al-Atrash”), DCA License No. 1279639,

from the company SAMSERV, Inc (“SAMSERV”). The affidavit of service was notarized by

William Mlotok (“Mlotok”). See Exhibit B.

28.    On or about June 2, 2009, MSH filed an application for default in the collection lawsuit.

The application was signed by a MSH attorney named Mel S. Harris. Mr. Harris affirmed under

the penalty of perjury that Ms. Bueno had been properly served. The application sought entry of

judgment for $ 3986.48 1. See Exhibit C.

29.    MSH also filed an affidavit of merit, in support of LRC’s application for default. See

Exhibit D.

30.    The affidavit was signed by Defendant Todd Fabacher (“Fabacher”), allegedly “an

authorized and designated custodian of records for the plaintiff” (LRC), with “personal

knowledge of, the facts and proceedings relating to this action”. Id.

31.    The affidavit was false. Fabacher had no “personal knowledge” of the underlying facts

concerning the account, and was, in fact, primarily employed as an attorney by MSH.

32.    Nevertheless, Fabacher swore (falsely) in his affidavit that he had personal knowledge

that LRC was the assignee of a debt originally owed to “SEARS, flowing from a defaulted

“Retail Charge Account Agreement”. Id.

33.    On or about June 15, 2009 MSH obtained a default judgment against Ms. Bueno on

behalf of LRC (the “sewer service default judgment”). Judgment was entered against Ms. Bueno




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in the amount of $3,995.80. See Exhibit E.

34.     On November 30, 2009, a Marshal’s Notice of Execution was issued against Ms. Bueno

as a result of the default judgment: it referenced the amount due as $3,995.80. See Exhibit F.

35.     The Defendants in the case at bar engaged in fraud to obtain the sewer service default

judgment. Defendants have used the same pattern of fraud against over a hundred thousand other

New York residents. The Second Circuit recently upheld certification in a class action alleging

that the Defendants in the case at bar used false SAMSERV affidavits of service and false

Fabacher affidavits of merit as part of a criminal conspiracy to fraudulently obtain debt

judgments en masse:

        In this case, four plaintiffs allege that a debt-buying company [Leucadia 2], a law firm
        [MSH], a process service company [SAMSERV], and others engaged in a scheme to
        fraudulently obtain default judgments against them and more than 100,000 other
        consumers in state court. Defendants allegedly acted in concert to defraud these
        consumers in violation of [the FDCPA, RICO, GBL 348, and Judiciary Law 487].
        Plaintiffs… move for class certification.
        The motion is granted. The record before the Court establishes that defendants obtained
        tens of thousands of default judgments in consumer debt actions, based on thousands of
        affidavits attesting to the merits of the action that were generated en masse by
        sophisticated computer programs and signed by a law firm employee [Fabacher] who did
        not read the vast majority of them and claimed to, but apparently did not, have personal
        knowledge of the facts to which he was attesting. The record also shows that on hundreds
        of occasions the defendant process servers [including John Andino] purported to serve
        process at two or more locations at the same time. As discussed more fully below,
        defendants' unitary course of conduct purportedly to obtain default judgments in a
        fraudulent manner presents common questions of law and fact that can be resolved most
        efficiently on a class-wide basis.

        Sykes v. Mel Harris & Associates, LLC, 285 F.R.D. 279, 282-83 (S.D.N.Y. 2012) (“Sykes
        II”) aff'd sub nom. Sykes v. Mel S. Harris & Associates LLC, 780 F.3d 70 (2d Cir. 2015)
        (“Sykes III”)

36.     Defendants Harris and Fabacher were among the MSH principals named personally in

Sykes as part of the RICO criminal conspiracy.


2 Leucadia is the parent company of the LRC Entities.


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37.      Plaintiff Agustina Bueno is a Sykes class member who has opted-out of the class

settlement. The Sykes class action law suit was filed on October 6, 2009, alleging the same facts

of systemically false affidavits of merit and of service. See Exhibit G. Ms. Bueno learned of the

default judgment against her in November of 2009. Therefore, claims that arise from the same

allegations are tolled.

38.      In the case at bar (as in Sykes), SAMSERV was the process serving company; Al-Atrash

was the individual process server. See Exhibit B (affidavit of service).

39.      In the Sykes case, plaintiffs’ expert Nicholas Egleson executed a declaration on July 31,

2011, based on his analysis of Samserv’s database of services for MSH between 2007-2011. See

Exhibit H (the “magic process server” affirmation). 3 The Sykes District Court relied upon

Egleson’s declaration for the “findings of fact”, supporting the claims of widespread sewer

service for MSH by Samserv, including specifically by Andino:

         I make the following findings of fact based upon the depositions, declarations, and
         exhibits submitted by the parties in connection with this motion [for class
         certification]….

         Between January 2007 and January 2011, SAMSERV defendants performed service of
         process in 94,123 cases filed by Mel Harris in New York City Civil Court, 59,959 of
         which were filed on behalf of Leucadia defendants. (7/31/11 Egleson Decl. ¶¶ 2–4).
         Records maintained by defendants reveal hundreds of instances of the same process
         server executing service at two or more locations at the same time. (Id. ¶¶ 9–11, Ex. A).
         On 517 occasions, defendants Mosquera, Lamb, and Andino, alone, claimed to be have
         performed service in two or more places at the same time. (Id. ¶ 11, Ex. A). For example,
         Mosquera claimed to have performed service at four different locations at 1 p.m. on
         September 17, 2008. (Id. ¶ 10). Lamb claimed to have performed service at two different
         locations at 6:59 p.m. on November 28, 2007. (Id.). Andino claimed to have performed
         service at nine different locations at 4 p.m. on March 29, 2007. (Id.). There were also
         many other occasions where multiple services were purportedly made so close in time
         that it would have been impossible for the process server to travel from one location to
         the other as claimed. (Id. ¶¶ 13–23, Ex. B).


3 This is not a term used in the Egleson affirmation. However, given the findings in Egleson analysis, the term
seems an accurate summary of the findings.


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       These facts, together with the high number of default judgments obtained by defendants,
       provide substantial support for plaintiffs' assertion that defendants regularly engaged in
       sewer service.

       Sykes II at 283, 284 (emphasis added).

40.    The affirmation specifically found that “magician” Al-Atrash claimed to be serving

process at two or more locations at the same time in nine instances. See Egelson Affirmation, p.

9.

41.    In the case at bar, Al-Atrash stated (falsely) that he exercised due diligence to attempt

service on Ms. Bueno at the address 11630 Guy Brewer Blvd, Apt 7F, Jamaica, NY 11434 on:

“04/03/2009, 6:46am 04/04/2009 9:12pm, 04/06/20099:02 am and having verified the Residence

with MS. JANE.” See Exhibit B. These statements are false.

42.    In the case at bar, Defendant Fabacher also executed a false affidavit of merit. See Exhibit

D. Fabacher attested (falsely) that he had “personal knowledge” of the key facts necessary for

the default judgment against Ms. Bueno. This included “personal knowledge” that LRC was the

assignee of a debt (the “debt” or “account”) originally owed to SEARS, flowing from a defaulted

“Retail Charge Account Agreement”. Id.

43.    In fact, Fabacher had no knowledge of any of the facts for which he alleged personal

knowledge—alleged facts that were necessary to obtain the default judgment. See Sykes v. Mel

Harris & Associates, LLC, 757 F. Supp. 2d 413, 420 (S.D.N.Y. 2010) (“Sykes I”) (“Fabacher,

signed the vast majority of the approximately 40,000 affidavits of merit they filed each year.

Fabacher averred to having personal knowledge of the key facts establishing that the debt in each

collection action was due and owing. Assuming 260 business days a year, Fabacher had to have

personally (and purportedly knowledgeably) issued an average of twenty affidavits of merit per

hour, i.e., one every three minutes, over a continuous eight-hour day.”); Sykes II at 285 (“Hence,



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 Fabacher signs hundreds of affidavits a week, purportedly based on personal knowledge,

 purporting to certify that the action has merit, without actually having reviewed any credit

 agreements, promissory notes, or underlying documents, and, indeed, without even reading what

 he was signing.”)

 44.    Al-Atrash’s false affidavit of service (Exh B) and the Fabacher false affidavit of merit

 (Exh D) were two key documents allowing Defendants to obtain the sewer service default

 judgment against Ms. Bueno.

 45.    On June 2, 2009 Defendant Mel Harris (“Harris”), a partner at MSH, used the false

 affidavits of service and merit, to file an application for default judgment. See Exhibit C. In the

 application for default judgment, Harris falsely affirmed under penalty of perjury that service of

 the summons and complaint had been made. Id. Default judgment was rendered against Ms.

 Bueno for $3,995.80 on June 15, 2009. See Exhibit E.

 46.    On August 15, 2013, the process server in the case at bar, Husam Al-Atrash, was accused

 of failing to maintain the standards of integrity, honesty, and fair dealing required of licensees by

 the City of New York Department of Consumer Affairs. See Exhibit I. He was charged with

 violations of the Administrative Code of the City of New York and Process Servers Rules: after

 receiving notice of traverse hearings, he did not properly report them, or make attempts to learn

 the results of such hearings in accordance with procedures specified in 6 RCNY§ 2-236(c)(1). Id.

 Al-Atrash also failed to create logbook entries for numerous attempts and services. Id.

 47.    On February 3, 2014, Al-Atrash entered into a Consent Order with the Department to

 resolve the charges without a hearing – he was ordered to strictly and promptly comply with all

 laws and regulations, and to not serve process in New York City for unlicensed process serving

 agencies. He was also ordered to pay a fine of $1000 to settle all his previous violations. See


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 Exhibit J.

 48.    By June 29, 2015 MSH and Harris (a named defendant in Sykes), actually knew of the

 July 31, 2011 Egleson declaration (Exh H). As previously noted, the Egleson declaration was a

 key piece of evidence relied upon in the district court’s findings of fact in support of its 2012

 order granting class certification. Sykes II at 284.

 49.    As Defendants were involved in the fraudulent conduct that resulted in the sewer service

 default judgment, Defendants’ attempt to execute against Ms. Bueno’s personal property

 constituted an attempt at conversion at the outset.

 50.    Ms. Bueno did not know, nor did she have any reason to know, that a suit by LRC was

 filed against her, much less that a judgment was entered, until she received the Marshal’s Notice

 of Execution, sometime in November of 2009.

 51.    MSH had ample notice that Al-Atrash was an unreliable process server. Most obviously,

 MSH and its principals knew there was a high likelihood that the Al-Atrash (SAMSERV)

 affidavit of service and Fabacher affidavit of merit were false—SAMSERV and MSH were all

 sued in a class action lawsuit alleging the same. MSH and its principals in the Sykes class action

 obviously knew of the information of massive sewer service.

 52.    MSH and LRC knew the judgment they were attempting to maintain was the result of

 fraud and were attempting to “dupe” Ms. Bueno into unknowingly relinquishing her rights.

 Indeed, it is the pattern and practice of MSH to attempt to slip in language releasing claims for

 its known abusive debt collection litigation conduct. See Cameron v. LR Credit 22, LLC, 998 F.

 Supp. 2d 293, 298 (S.D.N.Y. 2014) (MSH and LRC duped consumer into signing a stipulation of

 payment on a known time barred debt and included (and attempted to enforce) boilerplate

 language that sought to “waive” any rights the consumer for their FDCPA violations; waiver


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 language held not to release FDCPA claims, which were not known to the consumer).

 53.    Therefore it was unconscionable, as well as false, deceptive, and misleading for MSH and

 LRC to condition its stipulation to discontinue upon Ms. Bueno waiving and releasing MSH and

 LRC from any claims related to the collections lawsuit because the sewer service judgment

 should never have been entered in the first place, and Ms. Bueno should not have been asked to

 give up any of his rights as a condition of the sewer service default judgment’s vacatur.

 54.    Ms. Bueno suffered damages as a result of Defendants’ conduct: she endured significant

 emotional distress. Ms. Bueno is illiterate and ailing – a diabetic with difficulty getting around,

 who survives on SSI payments. After she received the Marshal’s Execution Notice, Ms. Bueno

 became concerned she could be arrested or that her house and her belonging would be seized:

 She had a nightly, recurring dreams that people came to her home and started taking her

 belongings; as a result, she began to have difficulty sleeping, and had to start taking sleeping

 pills. She also lost a substantial amount of weight during this period, not eating because she was

 so nervous, and stopped communicating with family members. She lived alone, and unplugged

 her phone, because every time it range she would get scared.

 55.    Ms. Bueno never held an account with “SEARS” nor had she ever heard of (or from) any

 of the Defendants.

 56.    One or about September 30, 2015 MSH contended that they had “closed their doors,” and

 allegedly closed their business.

 57.    However, in point of fact, MSH simply changed the name on the front door. While the

 principal attorneys to the firm “retired” in part due to the Sykes class action settlement, in fact

 Mr. Young and the in-house collection department of MSH, as well as the staff attorneys, simply

 “moved down the street” to operate under the name of an mass-filing debt collection law firm.



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 Stephen Einstein & Associates, P.C. In moving over the MSH collection operations, Mr. Young

 simply changed his title from Executive Director of MSH to Executive Director of Stephen

 Einstein & Associates, P.C. And tens of thousands of judgment accounts, including the account

 of Mr. Guzman, were transferred from MSH to Einstein.

                           D.    COUNT # 1: VIOLATIONS OF THE FAIR DEBT
                                 COLLECTION PRACTICES ACT

 58.    Plaintiff repeats and realleges each and every allegation set forth above as if reasserted

 and realleged herein.

 59.    The purpose of the FDCPA is “to eliminate abusive debt collection practices by debt

 collectors, to insure that those debt collectors who refrain from using abusive debt collection

 practices are not competitively disadvantaged, and to promote consistent State action to protect

 consumers against debt collection abuses.” 15 U.S.C. § 1692(e); see also Hamilton v. United

 Healthcare of La., Inc., 310 F.3d 385, 392 (5th Cir. 2002) (“Congress, through the FDCPA, has

 legislatively expressed a strong public policy disfavoring dishonest, abusive, and unfair

 consumer debt collection practices, and clearly intended the FDCPA to have a broad remedial

 scope.”).

 60.    Congress designed the FDCPA to be enforced primarily through private parties – such as

 plaintiff – acting as “private attorneys general.” See S. Rep. No. 382, 95th Con., 1st Sess. 5,

 (“[t]he committee views this legislation as primarily self-enforcing; consumers who have been

 subject to debt collection abuses will be enforcing compliance”); and Jacobson v. Healthcare

 Fin. Servs., 516 F.3d 85, 91 (2d Cir. 2008) (“[i]n this way, the FDCPA enlists the efforts of

 sophisticated consumers like [plaintiff] as ‘private attorneys general’ to aid their less

 sophisticated counterparts, who are unlikely themselves to bring suit under the Act, but who are

 assumed by the Act to benefit from the deterrent effect of civil actions brought by others.”).


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 61.     The obligation alleged to be owed by plaintiff is a “debt” as defined by 15 U.S.C. §

 1692a(5) because the putative credit card debt was incurred primarily for family, personal or

 household purposes.

 62.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) because Plaintiff was

 alleged to owe a “debt.”

 63.     Defendants are each a “debt collector” as defined in 15 U.S.C. § 1692a(6) because their

 principal purpose is the collection of debts and/or they regularly attempt to collect debts, directly

 or indirectly.

 64.     LRC is a “debt collector” because it purchases charged off consumer accounts after they

 are in default with the putative original creditor and attempts to collect on them by sending

 thousands of collection letters and filing thousands of collections lawsuits.

 65.     MSH is a law-firm in the business of collecting debts because it attempts to collect

 alleged debts owned by others by filing thousands of collections lawsuit, by sending out

 thousands of collection letters, and by making thousands of debt collection telephone calls.

 66.     Harris is a “debt collector” because he attempts to collect alleged debts owned by others

 by (purporting to) sign thousands of collection lawsuits, thousands of debt collection pleadings,

 thousands post-judgment collection mechanisms (e.g. information subpoenas), and thousands of

 collection letters. Harris is the primary shareholder of MSH, and is the named partner.

 67.     Waldman is a “debt collector” because he attempts to collect alleged debts owned by

 others by (purporting to) sign thousands of collection lawsuits, thousands of debt collection

 pleadings, and thousands post-judgment collection mechanisms (e.g. executions). Waldman is a

 shareholder of and partner in MSH.

 68.     Fabacher is a “debt collector” because he attempts to collect, directly or indirectly,




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 alleged debts owned by others by signing hundreds of thousands of affidavits of merit that

 falsely allege personal knowledge as to the key facts that allow the fraudulent entry of default

 judgments against consumers, including Ms. Bueno. Fabacher is also a debt collector because as

 the “director of information technology” for MSH, Fabacher collected debts directly and

 indirectly by creating the MSH system that directed debt collection practice for MSH, including

 how and when to file suit, issue executions, or issue collection letters.

 69.    Based in part on the findings of fact by the district court in the order certifying class

 certification in Sykes, based on deposition testimony, and on information and belief, Harris,

 Waldman, Fabacher, and Young were key actors in creating, implementing, and maintaining the

 common scheme against consumers such as Ms. Bueno by allowing false affidavits of service

 and false affidavits of merit to be used to systematically enter default judgments against

 consumers. As succinctly stated by the district court:

        Plaintiffs do not merely allege that the Leucadia and Mel Harris defendants “lack
        physical evidence of the debt,” but that they knowingly authorized defendant Fabacher to
        file false affidavits of merit—misleading both the Civil Court and consumer-
        defendants—to secure default judgments that enabled them to freeze bank accounts,
        threaten to garnish wages, or pressure individuals into settlements.

        Sykes I, at 424
 For these reasons and others, Harris, Waldman, Fabacher, and Young are jointly and severally

 liable for the liability of MSH as to Ms. Bueno.

 70.    Defendants materially violated the following sections of the FDCPA: 15 U.S.C. §§

 1692e, and 1692f. For the reasons stated in the Statement of Facts, Defendants violated the

 FDCPA by taking the following actions in an attempt to collect a debt or in connection with an

 attempt to collect a debt: using false, deceptive or misleading representations or means;

 misrepresenting the character, amount, or legal status of the debt; misrepresenting the services

 rendered or compensation which may be lawfully received; the false representation or



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 implication that any individual is an attorney or that any communication is from an attorney;

 threatening to take and actually taking an action prohibited by law; communicating or

 threatening to communicate to any person credit information which is known or which should be

 known to be false; using any false, deceptive or misleading representations or means; using

 unfair or unconscionable means; and collecting or seeking to collect any amount (including any

 interest, fee, charge, or expense incidental to the principal obligation) unless such amount is

 expressly authorized by the agreement creating the debt or permitted by law.

                           E.    COUNT # 2: NEW YORK GENERAL BUSINESS LAW
                                 SECTION 349 ET SEQ.

 71.    Plaintiff repeats and realleges each and every allegation set forth above as if reasserted

 and realleged herein.

 72.    New York General Business Law Section 349(a) prohibits “deceptive acts or practices in

 the conduct of any business, trade, or commerce, or in the furnishing of any service in this

 state…”

 73.    An individual "injured by reason of any violation of this section may bring an action in

 his own name to enjoin such unlawful act or practice, an action to recover his actual damages or

 fifty dollars, whichever is greater, or both such action." N.Y. Gen. Bus. Law § 349(h).

 74.    As enumerated in the Statement of Facts above, Defendants violated N.Y. Gen. Bus. Law

 § 349 et seq. by using deceptive acts and practices in the conduct of their businesses, and their

 conduct has a broad impact on consumers at large.

 75.    Defendants committed the above described acts willfully and/or knowingly.

 76.    Defendants’ wrongful and deceptive acts caused injury and damages to Plaintiff.

 77.    As a direct and proximate result of those violations of N.Y. Gen. Bus. Law § 349 et seq,

 Plaintiff suffered compensable harm and is entitled to preliminary and permanent injunctive



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 relief, and to recover actual, treble and punitive damages, and costs and attorney’s fees.

                               F.    COUNT # 3: NEW YORK JUDICIARY LAW § 487
                        (against attorney Defendants MSH, Harris, and Waldman)

 78.        New York Judiciary Law § 487 creates a private right of action against an attorney or

 counselor who “[i]s guilty of any deceit or collusion, or consents to any deceit or collusion, with

 intent to deceive the court or any party;” or “wilfully receives any money or allowance for or on

 account of any money which he has not laid out, or becomes answerable for.”

 79.        Defendants MSH, Harris, and Waldman (the “attorney Defendants”) Defendants violated

 § 487 by, inter alia, using false affidavits of service and false affidavits of merit to obtain a

 default judgment against Ms. Bueno; and to use the fraudulently obtained judgment to execute

 on Ms. Bueno’s wages, and to refuse to discontinue the collections lawsuit unless Ms. Bueno

 agreed to release all Defendants from their fraud. This conduct inflicted and continues to inflict

 damages on Ms. Bueno.

 80.        The violations of § 487 by Defendant inflicted damages, for the reasons and in the

 manner stated in the above Statement of Facts.

 81.        Plaintiff is entitled to actual damages, treble damages, and attorneys’ fees and costs for

 the violations of N.Y. Judiciary Law § 487 by Defendant, and Plaintiff so seeks.


                               G.    JURY DEMAND.
 82.        Plaintiff demands a trial by jury.

                               H.    PRAYER
 83.        WHEREFORE, Plaintiff requests the following relief:

       a.    A declaration that all Defendants have committed the violations of law alleged in this

             action;

       b.    An order enjoining and directing all Defendants to cease violating G.B.L. § 349 et seq.;


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    c.    Statutory damages under 15 U.S.C. § 1692k and GBL 349;

    d.    An order awarding disbursements, costs, and attorneys’ fees under 15 U.S.C. § 1692k

          and G.B.L. § 349;

    e.    A judgment for actual, treble, statutory, punitive, and exemplary damages;

    f.    Prejudgment and post judgment interest as allowed by law;

         All other relief, in law and in equity, both special and general, to which Plaintiff may be
         justly entitled.

 Dated: Brooklyn, New York
        August 24, 2016
                                       Respectfully submitted,

                                       /s/

                                       Ahmad Keshavarz
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